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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

UNITED STATES OF AMERICA, §
                          §
v.                        §              CRIMINAL NO. 4:20-CR-269-Y
                          §
ERIC PRESCOTT KAY (01)    §


      DEFENDANT’S OPPOSED MOTION TO CONTINUE TRIAL AND
                 EXTEND PRETRIAL DEADLINES

TO THE HONORABLE TERRY R. MEANS
SENIOR UNITED STATES DISTRICT JUDGE FOR THE
NORTHERN DISTRICT OF TEXAS

        COMES NOW, ERIC PRESCOTT KAY (1), Defendant, by and

through his attorneys of record, MICHAEL A. MOLFETTA and WM.

REAGAN WYNN, and moves this Court to continue the current trial

date for a period of at least 60 days, with a commensurate

extension of all pretrial deadlines. In support thereof, Defendant

would show the Court the following:

(1)     The indictment in this case was returned October 15, 2020.

        Pursuant to this Court’s Order Granting Unopposed Motion to

        Continue entered April 6, 2021, (ECF No. 23), trial in this

        matter is scheduled to begin August 16, 2021.



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     (2)   In Count One of the Indictment (doc. 12), Defendant is

           accused of participating in a far-ranging conspiracy with un-

           named “others,” alleged to have begun “in or before 2017”

           and continuing until “in or around 2019,” in the Northern

           District of Texas “and elsewhere” to possess with intent to

           distribute and to distribute a mixture and substance

           containing fentanyl, a Schedule II controlled substance. In

           Count Two, Defendant is accused of one speci c alleged

           delivery of fentanyl to a single speci ed person on a single

           speci ed date in the Fort Worth Division of the Northern

           District of Texas and it is further alleged the use of the

           speci c delivered substance resulted in death and serious

           bodily injury to T.S.

     (3)   The Government has produced voluminous discovery to

           undersigned counsel including:

            (a)   a n ex te r n a l co m p u te r h a rd d r i ve co n t a i n i n g

                  approximately 185 GB of digital email archive les;




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                          (b)   a second external computer hard drive containing

                                approximately 7,800 separate digital les1 including law

                                enforcement reports, expert reports, bank records,

                                online nancial payment service records, online auction

                                records, extensive phone records from mobile phone

                                service providers, forensic analysis of actual phones

                                obtained during the investigation, extensive iCloud

                                records, travel records, and other records concerning

                                several individuals obtained via grand jury subpoena

                                and/or Court Order or warrant;

                          (c)   a d d i t i o n a l d o c u m e n t a r y d i s c o v e r y, t o t a l i n g

                                approximately 100 pages of written documents and

                                100 photographs, made available electronically;

                          (d)   an additional approximately 44 written documents

                                totaling approximately 378 pages made available for

                                review and note-taking at the United States Attorney’s

                                O ce, but not allowed to be copied; and,


                1 These 7,800 digital les include more than 24,000 pages of
                written documents along with Cellebrite data les, more than
                300 .csv les, and more than 80 .xls./xlsx les. All told, these
                digital les contain hundreds of thousands of lines of data to be
                analyzed.
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           (e)   a USB drive delivered to undersigned counsel on July

                 21, 2021, containing approximately 50 digital              les

                 containing documentary reports and evidence as well

                 as several .csv/.xls/.xlsx    les containing thousands of

                 lines of communications and iCloud data and a 52GB

                 Cellebrite data     le containing iCloud information

                 related to a person of interest to the investigation.

(4)   Other than the contents of the USB drive delivered on July 21,

      2021, undersigned counsel have made substantial headway in

      the process of reviewing the voluminous discovery provided

      by the Government. Undersigned counsel, along with several

      non-lawyer sta          and one associate attorney, have fully

      reviewed the vast majority of the written documentary

      discovery provided. They have also preliminarily reviewed the

      numerous Cellebrite, .csv, .xls, and .xlsx              les previously

      provided in an attempt to analyze the voluminous data

      contained therein.

(5)   From reviewing various investigative reports provided by the

      Government in discovery, it is clear Government agents have

      mined the voluminous          nancial and communication data and


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                identi ed certain portions they believe to be relevant to the

                allegations in the Indictment.

          (6)   From their review of discovery provided to date, undersigned

                counsel have identi ed at least three, if not more, persons

                who could be argued to be un-indicted co-conspirators in

                Count One. For purposes of defending the allegations in

                Count One, it is necessary for undersigned counsel to

                thoroughly review and analyze the communications, travel,

                and             nancial data contained in the numerous

                Cellebrite, .csv, .xls, and .xlsx        les provided in an attempt to

                put information the Government has identi ed as relevant

                into context as well as to search for additional data

                demonstrating connections, or lack thereof, between the

                persons who could potentially be part of the alleged

                conspiracy.

          (7)   With regard to Count Two, it is necessary for undersigned

                counsel, to thoroughly review and analyze the

                communications and nancial data contained in the numerous

                Cellebrite, .csv, .xls, and .xlsx        les provided in an attempt to

                identify other potential sources of supply for the fentanyl


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       alleged to have caused the death of T.S. Again, the

       Government has identi ed speci c portions of this

       voluminous data they believe to be relevant, but undersigned

       counsel are required to conduct an independent and

       thorough analysis of the data instead of simply accepting the

       Government’s analysis.

(8)    In addition to reviewing and analyzing the voluminous data

       themselves, undersigned counsel have determined it is

       necessary to retain an independent expert in the                      eld of

       forensic review of computers and mobile devices who has

       experience working with Cellebrite to analyze the Cellebrite

       data provided2 and answer certain speci c questions

       undersigned counsel have been unable to answer based on

       their review of said data to date. Undersigned counsel

       anticipate having such an expert retained in the next few

       days, but are not sure how long it will take for the necessary

       review to be conducted.

(9)    Also with regard to Count Two, undersigned counsel believe

       there is a substantial issue of fact as to whether T.S.’s death

2As noted above, the Government provided additional Cellebrite
data to undersigned counsel on July 21, 2021.
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            would not have occurred “but for”3 ingesting the speci c

            substance allegedly delivered by Defendant on the date in

            question.

     (10) In relation to the causation issue, the Government has

            produced what appear to be complete copies of all Tarrant

            County Medical Examiner’s O                 ce (hereinafter “TCME”)

            records concerning the autopsy performed on T.S. as well as

            the toxicology testing performed on biological samples

            allegedly obtained as part of that autopsy.

     (11) Independent of discovery provided by the Government,

            undersigned counsel have become aware of signi cant issues

            concerning the competency and veracity of a person

            intimately involved in the TCME actions in this case.

            Undersigned counsel are still conducting an independent

            investigation into these issues, including consulting with one

            already retained expert, and do not believe they will be able

            to   nish fully investigating these matters prior to the current

            trial date. Undersigned counsel assume the Government is not

            in possession of any exculpatory information concerning this


     3   See, e.g., Burrage v. United States, 471 U.S. 204, 216-19 (2014).
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    person as there have been no Brady disclosures related to

    him/her. Undersigned counsel believe it is possible the issues

    surrounding the person in question from the TCME’s O ce

    could impact the analysis of Defendant’s independent

    potential testifying experts. Until undersigned counsel have

    completed their independent investigation concerning these

    issues, they are unable to make informed and intelligent

    decisions concerning which potential expert(s) to designate

    to possibly testify.

(12) In sum, undersigned counsel believe they will require an

    additional approximately 60 days to adequately review

    discovery, conduct an independent investigation, and

    otherwise prepare for trial in this matter.

(13) Defendant respectfully submits the ends of justice served by

    granting the requested continuance outweigh the best

    interest of the public and the defendant in a speedy trial. See

    18 U.S.C. § 3161(h)(7)(A). Denial of the requested continuance

    will almost assuredly result in a miscarriage of justice because

    undersigned counsel are unable to fully review and analyze

    the discovery produced by the Government and also conduct


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             necessary independent investigation into matters raised in the

             discovery under the current schedule. See 18 U.S.C. § 3161(h)

             (7)(B)(i). As such, undersigned counsel require additional

             time of e ective preparation of this matter for trial taking into

             account the exercise of due diligence. See 18 U.S.C. § 3161(h)

             (7)(B)(iv).

     (14) This request is not made for purposes of delay, rather, it is

             made in the interests of justice.

     (15) The parties of have identi ed the following potential con icts

             for trial over the period from the date of the                  ling of this

             motion through 90 days after the current trial date of August

             16, 2021:

              (A) Undersigned counsel Michael Molfetta has the

                    following con icts through the week of November 15,

                    2021:

                     1.              Currently scheduled for jury trial to begin

                                     August 24, 2021, in People v. Jose Luisvallad

                                     Trujillo, cause number 18CF0257, pending in the

                                     Superior Court of Orange County, California.

                                     Trujillo is charged with    ve counts, the most


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                   serious of which being attempted murder,

                   alleged to have occurred on January 12, 2018.

                   Trujillo is in custody and his trial has been

                   continued over his objection for more than a

                   ye a r b e c a u s e o f t h e C OV I D e p i d e m i c .

                   Undersigned counsel Molfetta believes there is a

                   realistic chance this case will go to trial as

                   scheduled.

             2.    Currently scheduled for jury trial to begin

                   September 13, 2021, in two matters both pending

                   in the Superior Court of Orange County,

                   California: People v. Jordan Adrian Salkin, cause

                   number 17HF0594, and People v. Alexis

                   Ascencion, cause number 17CF3252. Salkin is

                   accused of two counts, the most serious of

                   which being attempted murder, alleged to have

                   occurred on May 7, 2017. Ascencion is accused of

                   two counts, the most serious of which being

                   murder, alleged to have occurred on December 1,

                   2017. Trujillo is in custody and his trial has been


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                         continued over his objection for more than a

                         year because of the COVID epidemic. Salkin is

                         not in custody. Undersigned counsel believes it

                         is likely either the Ascencion or Salkin case will

                         go to trial beginning September 13, 2021, and it

                         is possible whichever one is not tried on that

                         date will be tried immediately thereafter.

           (B) Undersigned counsel Wm. Reagan Wynn has no

                 con icts through the week of November 15, 2021.

           (C) Counsel for the Government are unavailable the week

                 of October 24, 2021.

          WHEREFORE, PREMISES CONSIDERED, Defendant Eric

     Prescott Kay (01) respectfully prays the current trial date of August

     16, 2021, be continued for a period of at least sixty (60) days and

     the associated pretrial deadlines be extended for a corresponding

     period of time.

                                       Respectfully Submitted,

                                       /s/ Michael A. Molfetta
                                       Michael A. Molfetta
                                       California Bar Number: 151992
                                       Molfetta Law
                                       3070 Bristol Street, Suite 580

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                                       /s/ Wm. Reagan Wynn
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                                       Reagan Wynn Law, PLLC
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                                       Fort Worth, Texas 76109
                                       Telephone: (817) 900-6800
                                       rw@reaganwynn.law

                                       ATTORNEYS FOR ERIC PRESCOTT KAY

                        CERTIFICATE OF CONFERENCE

           I hereby certify that on July 16, 2021, conference was held
     with Assistant United States Attorneys Lindsey Beran and Errin
     Martin and the Government is OPPOSED to the granting of the
     relief requested in this Motion.

                                       /s/ Wm. Reagan Wynn
                                       WM. REAGAN WYNN

                           CERTIFICATE OF SERVICE

          I hereby certify that on July 21, 2021, I electronically led the
     foregoing document using the Court’s CM/ECF system, thereby
     e ecting service on attorneys of record.

                                       /s/ Wm. Reagan Wynn
                                       WM. REAGAN WYNN




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